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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO



  PAMELA R. MILLER, Individually,                        )
  and as Parent and Next Friend of                       )
  BLAKE M. ALMANDINGER, a Minor,                         )
                                                         )
                 Plaintiffs,                             )
                                                         )
  v.                                                     ) CASE NO: 18-CV-1411-WYD - SKC
                                                         )
  KENNETH W. CROSSMAN,                                   )
  NEW BERN TRANSPORT CORPORATION,                        )
  PEPSICO, INC., and PEPSI-COLA                          )
  METROPOLITAN BOTTLING COMPANY,                         )
  INC.                                                   )
                                                         )
                 Defendants.                             )
  _____________________________________________________________________________________

   STIPULATION FOR DISMISSAL, WITH PREJUDICE, OF DEFENDANTS PEPSICO,
       INC. AND PEPSI-COLA METROPOLITAN BOTTLING COMPANY, INC.
  _____________________________________________________________________________________

         The Parties, by and through their undersigned counsel of record and pursuant to Federal

  Rule of Civil Procedure 41, hereby state as follows:

         1. Upon the commencement of this lawsuit, counsel for Plaintiffs and counsel for

             Defendants conferred regarding the issue of which corporate defendant was the

             employer of Defendant Crossman, the driver of the tractor-trailer in this case, at the

             time of the subject crash.




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             2. Defendant New Bern has admitted and does hereby admit that 1) Defendant New Bern

                  was/is the owner of the tractor-trailer at issue, 2) Defendant Crossman was an employee

                  of Defendant New Bern at the time of the subject crash, and 3) Defendant Crossman

                  was acting within the course and scope of his employment with Defendant New Bern

                  at the time of the subject crash. Counsel for Defendants has represented that Defendant

                  Crossman was not an employee of either Defendant Pepsico Inc. or Defendant Pepsi-

                  Cola Metropolitan Bottling Company, Inc. at the time of the subject crash, and that the

                  tractor-trailer at issue was not owned by either Pepsi defendant.

             3. Relying on representations made by counsel for all Defendants as to identification of

                  proper parties, the Plaintiffs hereby stipulate to the dismissal of all claims against

                  Defendants Pepsico, Inc. and Pepsi-Cola Metropolitan Bottling Company, Inc., with

                  prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), with each party

                  to bear its own costs.

             4. In an effort to narrow and simplify the issues that must be resolved in this case,

                  Plaintiff’s further hereby withdraw their Third and Fifth Claims for Relief (vicarious

                  liability and agency) against Defendant New Bern.

             5. Further, because Defendant New Bern has admitted that Defendant Crossman was

                  employed by and was acting within the course and scope of his employment with

                  Defendant New Bern at the time of the subject crash, and pursuant only to the holding

                  in Ferrer v. Okbamicael, 390 P.3d 836 (Colo. 2017) 1, Plaintiffs must also and hereby




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      Though they will abide by it, Plaintiffs respectfully disagree with the holding in Ferrer.

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            do withdraw their Sixth Claim for Relief (negligent hiring, training, supervision, and

            retention) as to Defendant New Bern.

         6. This lawsuit shall continue as to Defendants Crossman and New Bern pursuant to the

            First, Second, and Fourth Claims for Relief (negligence, negligence per se, and

            respondeat superior, respectively) as contained in Plaintiffs’ June 7, 2018 Complaint

            and Jury Demand.


         DATED this 6th day of September, 2018.

  Respectfully submitted,


  _/s/ Michael Chaloupka_______________ __/s/ Bryan Cross___________________
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on September 6, 2018, I electronically filed the foregoing with the
  Clerk of Court using the CM/ECF system, providing notice to the following:

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                                   ___/s/ Julie Melcher____________________
                                   Julie Melcher




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